                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :        CASE NO. 21-CR-327
               v.                            :
                                             :
LUKE RUSSELL COFFEE,                         :
                                             :
                      Defendant              :


            UNOPPOSED MOTION TO ADVANCE STATUS CONFERENCE

       The United States of America, by and through undersigned counsel, respectfully requests

that this Court reschedule the status conference currently scheduled on August 29, 2022.

Government counsel is scheduled to begin a jury trial the same day in United States v. Alam, 21-

CR-190 (DLF).

       The parties have conferred, and the defendant does not oppose the government’s request

to advance the date of the status conference. Subject to the Court’s availability and approval, the

parties propose advancing the status conference in this case to August 26, 2022 at 2:00 p.m. The

proposed request will ensure continuity of counsel.

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar No. 481052

                                      By:    /s/ Melanie L. Alsworth
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                           UNITED STATES DISTRICT COURT
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                                            :      CASE NO. 21-CR-327
               v.                           :
                                            :
LUKE RUSSELL COFFEE,                        :
                                            :
                      Defendant             :

           [PROPOSED] ORDER RESCHEDULING STATUS CONFERENCE

       The Court, having considered the unopposed motion of the United States, finds good

cause to reschedule the status conference in this case from August 29, 2022 to August 26, 2022

at 2:00 p.m.

       IT IS SO ORDERED.



                                            _________________________________
                                            Honorable Rudolph Contreras
                                            United States District Judge
